Case 8:21-cv-01314-JLS-KES Document1 Filed 08/06/21 Page1of27 Page ID#:1

Pro Se 5 (Rev. 12/16) Complaint for a Civil Case Alleging Negligence

 

UNITED STATES DISTRICT COURT | G2 SOREN RUSE
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~ \Ee Qoom Mek District of _ | Alb m6 202

_ ivisi CEN .QISTRICT OF CALIFORNIA
Rodaked Coase. Division BY TRARRR DEPUTY

 

 

 

 

 

CaseNo. 6° Z\- cu — OVEWA-SUS CKESx)

 

 

 

(Write the full name of each defendant who is being sued. if the
names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page
with the full list of names.)

Jethro Hackworth (to be filled in by the Clerk's Office)
Plaintiffs) )
(Write the fill name of each plaintiff who is filing this complaint. If ) .
the names of ail the plaintiffs cannot fit in the space above, please ) Jury Trial: (check one) [_] Yes xX No
write “see attached” in the space and attach an additional page
with the full list af names.) )
-v- )
)
)
)
United States of America )
Defendant(s)
)
)

COMPLAINT FOR A CIVIL CASE ALLEGING NEGLIGENCE
(28 U.S.C. § 1332; Diversity of Citizenship)

I The Parties to This Complaint
A The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

 

 

 

 

 

needed.
Name Jethro Hackworth
Street Address 2424 N Tustin Ave APT i8
City and County Santa Ana - OC
State and Zip Code California 92705
Telephone Number 562826687 1
E-mail Address jethrohackworth@)gmail.com

 

B. The Defendant(s)
Provide the information below for each defendant named in the complaint, whether the defendant is an

individual, a government agency, an organization, or a corporation. For an individual defendant,
- include the person's job or title (fknown). Attach additional pages if needed.

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Defendant No. 1

 

 

 

 

 

Name United States of America
Job or Title ¢fsnown) Government

Street Address North America

City and County

State and Zip Code

Telephone Number

 

E-mail Address (Gf inewn)

 

Defendant No. 2

Name

 

Job or Title (if known)
Street Address

City and County

State and Zip Code
Telephone Number
E-mail Address (if town)

 

 

 

 

 

 

Defendant No. 3
Name
Job or Title (if known)
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address (f known)

 

 

 

 

 

 

 

Defendant No. 4
Name
Job or Title (if known)
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address (if kiown)

 

 

 

 

 

 

 

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II.

Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Under 28 U.S.C. § 1332, federal courts may
hear cases in which a citizen of one State sues a citizen of another State or nation and the amount at stake is
more than $75,000. In that kind of case, called a diversity of citizenship case, no defendant may be a citizen of
the same State as any plaintiff. Explain how these jurisdictional requirements have been met.

A. The Plaintiff(s)

1. If the plaintiff is an individual
The plaintiff, (name) Jethro Hackworth , ts a citizen of the
State of (name) California

 

 

2. If the plaintiff is a corporation
The plaintiff, (nanre) , is incorporated

 

under the laws of the State of (name) ,

 

and has its principal place of business in the State of jaame)

 

(if more than one plaintiff is named in the complaint, attach an additional page providing the
same information for each additional plaintiff.)

B. The Defendant(s)

 

L. If the defendant is an individual
The defendant, (ame) United States of America , 18 2 citizen of
the State of (name) | United States . Oris a citizen of

 

(foreign nation) — United States

 

 

2. If the defendant is a corporation
The defendant, (name) , is incorporated under
the laws of the State of ame) , and has its

 

principal place of business in the State of (name)

 

Or is incorporated under the laws of (foreign nation) ;

 

and has its principal place of business in (name)

 

(if more than one defendant is named in the complaint, attach an additional page providing the
same information for each additional defendant.)

Cc. The Amount in Controversy

The amount in controversy—the amount the plaintiff claims the defendant owes or the amount at
stake—is more than $75,000, not counting interest and costs of court, because (explain):

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TIE,

Years of stalking, itlegal photographing, recording, possible streaming, food tampering, theft, assault,
break ins, burglary, fraud, hacking, internet trespassing, trespassing, property damage, HIPAA
violations, attempted murder, draining brake fluid from my car, cyberstalking, harassment, sexual
harassment. Not one agency from, Police, FBI, NSA, CIA, Administrative Offices, White House, DHS
or any other agencies I contacted or items might have been forwarded to has stepped in to help, or at the
very least tell me why I am being targeted. This has been at minimum escalating from close to 4 years
now. I also contacted the Federal Torts Claim, the denied my request 04/21/2021.

 

Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
involved and what each defendant did that caused the plaintiff harm or violated the plaintiff's rights, including
the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.

On (date) 05/15/2021 , at (lace) Current shelter ;

the defendant(s): (1) performed acts that a person of ordinary prudence in the same or similar circumstances
would not have done; or (2) failed to perform acts that a person of ordinary prudence would have done under the
same or similar circumstances because (describe the acts or failures to act and why they were negligent)

As stated above, not one person stepped in to stop this heinous act and allowed all of this to happen.

 

The acts or omissions caused or contributed to the cause of the plaintiff's injuries by (explain)

The most recent one, 1 was surrounded by roughly 200 bikers(regular bikes) I was blindsided in the tempie, they
got into the car. Took the keys, (who knows what else). I got my keys back(one from the group gave them back).
Then J was punched in the face again. I have been irritated to all hell, I cant even stand to talk to anyone and
haveb een constantly on edge with almost everyone I come in contact with: They are all in on this, I know it for
a fact and I don't care if you want to lie and say I am crazy. Atleast God will be my witness that this country has
been untruthful and did nothing but contribute to the problem. Do what you wish I will fight this even if it ends
me because I know I am right.

 

Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
punitive money damages.

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The truth and nothing but the truth, so help you God.

 

Vv. Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause

unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a

nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have

evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the

requirements of Rule 11,

A.

For Parties Without an Attorney

T agree to provide the Clerk’s Office with any changes to my address where case—related papers may be
served. I understand that my failure to keep a current address on file with the Clerk’s Office may result

in the dismissal of my case.

Date of signing: 05/21/2021

 

Signature of Plaintiff Jethro Hackworth

 

Printed Name of Plaintiff Jethro Hackworth
For Attorneys

Date of signing: 06/09/2021

 

Signature of Attorney No attorney needed.

 

Printed Name of Attorney

 

Bar Number

 

Name of Law Firm

 

Street Address

 

State and Zip Code

 

Telephone Number

 

E-mail Address

 

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The Day the United States Betrayed Me

 

For countless years potentially up to decades, the country of the United States
allowed me to become an experiment and target for countless crimes. The United
States ignored my pleads for assistance in truth. | sent help requests to a large
portion of the world, most of the responses were left in the statements, we cannot
and will not help or suggested to leave the United States.
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This is just a small taste of what | must present, such as further food tampering, the local churches
being involved and more. | can write another book filled with evidence within a short period of
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Author : Jethro Hackworth

iilustrator : Jethro Hackworth
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Chapter 1: Talend

Hired

| was hired on with company named Talend which proposed a great opportunity, benefits and the pay
scale was healthy. Though, the change from my old job Bio-Rad was a tough option as | felt comfortable
but at the same time, | felt moving forward on a new system would be a great step for my career. This
all turned out to be a disaster.

Day one

Day one, my neighbor or the person whom sat next to me started leaving trash on my desk when |
would leave the room and then would get flustered when I’d ask about it. | did my best to make the
situation normal and attempted to be kind to everyone around me in the best way | could. | would joke
with them and ask for help and help when | could. This issue of leaving trash and other items such as
empty bottles of alcohol on my desk became too consistent. So, | moved locations on the area and
notified my manager of what was happening and how | wanted to resolve it. Things seemed to be fine
for now.

Monitoring

| quickly noticed some creepy monitoring they always wanted a good view of me and my work location.
As my manager moved closer to me after | moved and propped up a second laptop facing my direction
which seemed to be a way to record the area. The people in the area of my work location would follow
me around at lunch and watch me lifting their phones which now gives me the notion they were
recording too. | was given documentation to organize it and make it look presentable, later finding out
some of the stuff mixed into the documentation was not correct. The documentation | produced from
scratch was different as | verified it by testing it, knowing it was correct. | felt there was some tension
about the documentation | was given to make presentable.

Work

| started to notice some of my work had been deleted and it would cause me to rebuild what | needed
to do and make me take longer. | questioned this lightly at first, but | shouldn’t have. Eventually some of
the customers also started to become unrealistic as if they were attempting to sabotage the advice and
solutions given, almost as if they were placed there intentionally to attempt to frustrate me or
purposely complain.

Devices

| noticed someone had been using other devices on my
machine, | noticed they had used a razer mouse on my
machine. | don’t own a razer mouse. As you can see, |
logged it here below and took a photo of it with my
phone. This was my personal laptop | would bring in a
backpack because | school after work on certain days and
| had to go straight to school from work. This is logic and
reason | had the backpack in the office with me.

 
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Otherwise, | would had left it at home. | noticed my belongings would be meddled through or
rearranged and not sure if anything was actually missing.

Fraud
This is when things started to get serious. The laptop | work with was also physically tampered with
where someone pulled the touchpad out and | had to request a new laptop. Then | was given another
laptop which was nearly unusable which caused work production to drop drastically. | asked for an
additional one, but it seemed they had no more laptops in stock. Asked to commit fraud by falsifying my
timecard in favor of the company, basically stealing from my paycheck. | was asked to spread out my
double time over the weeks into each day
instead of obtaining the double time and | was
not given the second lunches as required in
California labor laws. You can see the

conversation here where | was able to catch Saga ooo En
. : cy ee ayy eon 1 5s rook
him off guard and in writing to ask me to eee Se

commit the fraud and steal from me and
make his reports look better to his upper
management. | am not sure if this was
happening to the other employees, but |

made a police report where they said they will [7% eee
not investigate this. A ba

ihe a ceagale house 06 furs a scaesPung Li

  

| contacted a previous manager Tom Ciconte i a : m
in question of the situation from Bio-Rad. He had offered a spot, but something said to stay and
continue to watch what these people at Talend were doing even though | truly enjoyed my time working
at Bio-Rad. Someone broke my phone screen as | left it charging when | went to the bathroom. When |
came back, | didn’t notice but the person sitting next to me stood up and loudly stated, “what happened
to your phone?”. So, someone broke the screen on my phone, and they wanted to let me know. This is
when | knew the damages were intentional and coming from within the office.

Cyber Attacks

There were cyber-attacks on my home devices, going through my computer and looking at my files on
monitoring what | was doing on my home machines. | received DOS attacks which are meant to slow
down or completely disconnect you from the network. | found them hacking into my bank accounts as |
found an Apple MACOSX computer connected and monitoring my bank account which | reported to the
Chase bank and the police as well. Talend started changing or attempting to twist what was taught into
something opposite of what we were taught, basically taking the training, and then telling me | was
wrong from what the training said which started to tell me they were up to no good.
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Drugged
| was drugged or some sort of chemical food tampering this day was April 20 2018 and they went to
get food and brought back Brussel sprouts. Inside of these was something where | started to feel
awkward and a weird sensation in my feet and
back/neck area causing me to feel some pain.

irvine Police Department
1 Cwie Center
P.O. Box 19

inne, CA 92623-9575

 

You can see the police report | made. they stated they
refused to investigate my problems leaving me
stranded but no option but to become unemployed

 

Brian Mariow

Brian Marlow stated he would not investigate the fraud Evatt" 4 mer re
. 449-724-7212 Ext 2082

and hacking even though | showed blatant proof of the \ZoZoV4e ciyolievine, cares
Cases bmarlow@cityofirvine org

situation, a small snicker and head shake as he left the
door.
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Chapter 2: Around the living area in Irvine, California

Car Broken Into

Not too long before | had moved into my new place my first car, the Honda Accord had the catalytic
converter removed and damaged the entire intake system costing roughly $1400. Another car my
Toyota Corolla was broken into, and the windows were shattered, and the car had trash thrown around
inside of it. The elevators which lift the windows were broken down and had to be replaced. This
happened twice mind you to the same car, the Toyota that not including the Honda Accord incidents,
the police shrugging it off as me not being targeted.

 
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The Honda Accord car had the brake fluid drained confirmed by a mechanic, nearly
killing my four-year-old son, including a pedestrian who was standing behind the car
which was hit causing him to go to the hospital with a severe leg -

injury.

 
 
     
 

 
  

   
 
  

Vvw2020
Diagnostle
Result N/A POOR FAIR GOOD SPRY EXCELLENT STATUS NOTES & ADVICE FROM MECHANIC
Details

1999 Honda Accord L4-2.3L Inspection Report

 

Brakes, Stecring and Suspension Inspection (Inspection) : Vehicle was in a head on
collision caused by no brake fluid in resevoir. Curiously there is no sign of a leak.
Brake light is lit. Power steering fluid reservoir damaged in accident as well as the
radiator. These are the major mechanical issues. Engine still runs.

Note

 

 

 

 

 
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Attempted Murder

Amazingly enough the police officer Kyle had wrote a report stating that the cause was speeding even
though he was told the brakes did not work. | took the mechanic report to the police station and it was
like pulling teeth to even get them to look at it. They kept insisting the case was closed and the
investigation was done.

Home Breakins
My home was being broken into and things started to become rearranged, and | wasn’t sure if things
were being stolen or not, at least things | wasn’t keeping perfect tabs on might have gone missing.

An example is if | were the only one home and | would leave, then come back and the lights would be
left on as | was arriving making intentionally short trips, leaving them little time to escape since the
others watching me outside were obviously communicating to whomever was going inside. This was
beyond obvious and what they were doing inside | couldn’t be too certain about it.

Another example is when | took my son to the park and when | came back, the garage door had been
turned off so | couldn’t get inside, and | had a latch lock on the front door so | couldn’t get through the
front door. Thankfully the neighbor was home as | knocked, and he let me go into his back yard and |
hopped the fence then using my keys to enter the garage from the back side opening the garage from
there.

Account Hacks

| continuously made reports of these incidents and more made other reports that people were hacking
into my school, work, personal and gaming accounts to no avail where again not one person stepped in
to help from the authorities.

Weird Stalker

Another incident where a guy came by stating, “sorry for kicking you out into the street” wearing a
Binance sweater. | decided to figure out what he was up to, and he freaked out in less than a minute
calling the police and then later finding out as he walked behind me, my son was worried he had tried to
touch his butt giving the notion he was a pedophile. Since the police were essentially unhelpful in Irvine
at this point, | figured they could bring my son a sticker since they did the first time the car was messed
with. The man was rude and didn’t ask the police to bring a sticker, so we left back home.

Recording Stalker

Another day | found someone waiting for me outside my home recording me. | confronted them why
they were recording me, they raised their voice in concern stating they would turn it off. | chased them
off smacking their phone out of their hands and asked them why they like stalking people. They called
the police, and the police officer that day told me it was fine for someone to record into my home
through the windows, that’s right they can peep into the windows and record apparently in his mind.
Peeping-toms were fine apparently. Obviously, we need to review some ethical issues here and laws
that are in place. Also, they told me if | hit one of them it will be assault, stating | couldn’t fight back to
defend myself or | will go to jail this is what the female officer had stated.
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Hit by SUV

| was hit by an SUV, yes, an SUV and this is no exaggeration either. The lady ran the stop sign and when
the SUV hit me the impact from the SUV was powerful enough that my phone flew out of my pocket
about twenty to thirty feet. | didn’t fall down somehow, | manager to land on my feet and keep running.
(Attempted murder?) This happened at the entrance of 14446 Culver Dr, Irvine, CA 92604. | looked into
the car and there was also another passenger but because of the strange way they timed their way

through the stop sign. | decided to keep going.
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Chapter 3: Santa Ana, California

Towing

Immediately after moving to Santa Ana, well during the move they decided to tow my car illegally, | left
the moving vehicle in the parking lot where | had purchased food from. | was taking a break and while
taking my break they viciously towed the moving vehicle, and the moving company was in denial. The
courts and the police both pushed back in defense of the illegal towing

Smoke

| noticed people coming into this apartment as well when | would leave, things would be moved, and it
smelled like smoke inside the room. | don’t smoke but it was strongest by my computer, so they were
doing something near the computer. | made a police report.

Gym

Then at the gym, just to work out and mind my own business again people there intentionally tried to
annoy me and tried to record me. | attempted to stop the recording and they all backed up and called
the police. The police told me not to come back and refused to investigate further into the issue.

Organized Strike

Then as | was trying to supply court documents, | was cut off in the middle of the street by roughly 200
people on bikes, yes 200 this is far from an exaggeration. It seemed someone didn’t like | was going to
the courts. The u-turn signal (left hand turn) was green for me. As | made my u-turn they started cutting
me off (| was already mid turn facing the new direction) hitting my car and stopping in front of me,
either run them over or stop to see what they want. | was in the far-left hand lane, the intentionally

came from the right-hand lane to cut me off.) Yelling at me to get out of the car, so | did, | tried to calmly
explain the light was green, they yelled still tons of them | couldn’t hear anything really. | yelled “shut
the fuck up”, an awkward moment of silence from all of them. Then, like a pygmy tribe they attacked me
and then they began fighting each other. | was a bit confused as to why they were fighting each other
slamming against my car and one of them was knocked to the floor. One jumped in my car to take the
keys, | went inside to get the person and they jumped out. One of them brought my keys back, then |
looked around and saw people recording from their cars. | thought at this moment, | didn’t know who
the enemy was, so | felt it was best to leave. Then, as | got in my car, the person who stopped in front of
my car “originally” yelling at me to get out of the car punches in the face again. | questioned his action
with a laugh and drove off. To be honest, the adrenaline of the situation felt amazing was kind of
exciting but disappointing as the attempted murder failed since | was struck in the temple. This is a spot
widely known to strike when you want to kill someone.

Shady grading

| reported to the police that the Irvine valley college, professor Vu Phan, was purposely giving me 0’s on
my homework as | clearly didn’t deserve a 0 and then | reported him to the school district. Suddenly, the
scores changed even before being talked to by the school system disciplinary staff. Shady right? This
happened multiple times. | am starting to feel this was a racial attack since other options seem to be out
the window.
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Mental Institution

| called the police again to let them know violence is going to happen since it has been happening.
Instead of helping they told me to go see a mental health crisis center. These people tried to tell me |
had paranoid ideology. Asking me if | saw things that were there, as this question deeply concerned me.
| started pointing out things in the room | saw, then he started explaining, no like things on the wall or
people in trees. Well, first of all people and children climb trees all the time. If | see something, how am |
supposed to confirm if it’s there or not if | am the only one there to see it? They tried to keep me there,
but | pushed the emergency button and code green blasted over the PA system. They told me not to
push buttons and then more people came flooding into the lobby. | summoned more of them by
pushing the button, but they eventually let me out without admitting me because | am sure they could
tell | was telling the truth. So, the police now, after stating they would investigate if | went there, have
yet to return my call and ignore me as they have been for a while at this point, maybe two weeks. So
really the police here are corrupt and not helpful in real situations it seems.

Weird Guy

Then just to see how they would react; some dude sprayed his gardening hose in my direction and
coughed at me. Then ran into his house, | asked if he wanted to hang out or be my friend... he said “no”
to all of it. He wanted me attention obviously. So, the police showed up and said to stay away again
instead of investigating.

Station Supervisor

The station “supervisor” advised me that people following me around is not stalking, | quickly said
“excuse me?”. So, | was pissed and called back and asked to speak to the retard supervisor, he refused
to take my call. Someone who thinks people following me around is not stalking, needs help.
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Chapter 4: Humanity

Homeless Crisis

The military seems be in a similar situation but worse, since currently at the time of this writing posted
on the VA website, there are roughly 40,000 homeless veterans. While the entire country received a
giant 1.9 trillion-dollar relief package. Why couldn’t something of this in even such a smaller scale had
been done before, we are talking in the low billions could had solved this disaster and still can. Think
about this my father and both grandfathers were veterans of this country. After going through all of this
regardless of if military personal or of the like were involved, | still believed it was right to stand up for
the ones who may not be involved or have no knowledge. Think about it if | am someone who comes
from a solid line of war veterans, dating back to a solid line of Knights and Vikings who protected Europe
now gets this treatment. | have documentation and other scientific sources to back this statement up as
well. Who is going to stand up for your children as a military person that lets say, you die in a heroic
battle and decorated more than the rose parade protecting what you truly believe in only to know your

children left behind can be going
through the same treatment |
received? Are you going to feel
confidant leaving your children
behind knowing the government
and the surrounding people won’t
care for your family and potentially
let them slide into the

homelessness disaster of the United ae ed ae :

States.
Human Rights Report

So, in return knowing there are others
out there who can have the same
problems or future issues. | made a
Human Rights report that this is wrong
and those who protect your country, risk
their life and to leave their family alone if
they are to fall in battle need to know
their family will be secure and taken care
of by the ones they protected and not
persecuted, pushed to the streets, or
even humiliated. They all need at least
dignity and a moderate form of respect

  

ICE Tip Form

OMB Control Number: 1653-0049

Expiration Date: 07/31/2023

U.S. Immigration and Customs Enforcement (ICE) investigates more than 400 violations of criminal law,
ranging from child exploitation to transnational gangs. Use this form to report suspected criminal activity.

Be as specific and as detailed as possible. You are encouraged to provide any additional identifying details
such as places of birth, countries of citizenship, and any numeric identifiers in the below narrative text box.
The detailed information you provide will assist investigators as they look into reported violations.

We do not provide status updates for tip information provided. If you provide information, you can be
assured that it will be promptly forwarded to the responsible office for follow up action as deemed
appropriate.

Do NOT send the same information more than once, and do NQT file a duplicate report by calling the ICE
Tip Line.

Although there is absolutely no guarantee that tip information provided will result in monetary payments,
ICE has the discretion and statutory authorization to pay for information and/or evidence that is used in
support of criminal investigations,

Anonymous tips may be reported on this form and may also be reported to ICE via the toll-free ICE Tip Line,
(866) 347-2423

from everyone just as anyone else you come across regardless of their background. | personally would
gain no benefit from this financially. The report suggests that someone needs to write a bill and pass it

through to get these homeless veterans their potential families off the streets at minimum for what they
did for their country. At minimum. Humanity? humaneness; benevolence. "he praised them for their
standards of humanity, care, and dignity" This definition has become false it seems.
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Chapter 5: School

My college professors were tampering with my grades and strongly know they were involved in these
horrific crimes. As you can see, he gave me a 0 score and then once | reported him, the score changed to
a 7. This happened more than once, and | noticed this happened in previous classes, but | didn’t

question it as harshly before. Now, that | reported it all of a sudden things changed, suspicious to me.

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& ' Jun 29 by 11:39pm a4
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angle gover Hackworth
jun 29 at
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It’s a wonder why there are so many high school dropouts that became billionaires, | can’t even imagine
the count of billionaires that don’t have a college degree. | am positive the millionaire section is polluted
with high school and college dropouts. It really hits you that schools want you to conform to their
standards but look what happens if you don’t conform, people still become billionaires and have
amazing success. Some sources say billionaires that dropped out of high school such as, John D.
Rockefeller, Henry Ford, Amancio Ortega, Francois Pinault, Kirk Kerkorian, David H. Murdock, Richard
Branson, Jay-Z and Zhou Qunfei. As to the factual statement for these people you would have to ask
them directly as | couldn’t be certain about it this is just based on online sources.
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Chapter 6: Government Agencies

Le al 601 FP OSes sme e - BOF 38%
8 A nsagov/abouveot: G A Gf)

| attempted to sue the companies involved, the United States for neglect o a

since not point of authority wanted to assist, and the local courts only for

truth and nothing more but they still hid behind lies confirming their lack OF sau ssa conactoss omonne
integrity by denying the cases. | noticed the legal forms were sometimes

not correct or they used unethical practices to deter the case. Report Fraud, Waste or

Mismanagement

F Bl The form below will enable you to report
concerns about fraud, waste or
| contacted the FBI, Federal Bureau of Investigation with no response. | mismanagement. Simply enter your
information and comments, then press the
have yet to receive any contact from them regarding my cases and reports. Sern Message: Aten te deliver the
message. If you decide to report
They also told me there was no danger, but | was attacked in the middle of ne
etails, Le., names, dates, organizations,
i j 1 ba rC,, t if fice t
the street after telling them this. | tried to let them know. MRGOGUaEea
Thank you for your submission
CIA & NSA

| contacted the CIA and the NSA, again left without a strand of hope from
them for any help from them.

li Oo €

Military
| investigated the military, Navy specifically and began grasping the notion of everyone seemed to know
me in strange way, as if they were advised I’d be arriving beforehand though ye: autometic repiy: [External Humen Ri
they were nice, | just had that strange feeling they had been contacted about pts nc

me before for some odd reason.

——— Forwarded message ———
From GP OHOHR <poGunche uu
Date: Wed Apr 21, 2021 491 PM
Satyr Averatec rapty. fEsmerndl Human Figo Cane - iy meeaianw
News Te: es becker sebicheaheendeDmmcate

| contacted a news organization with no response really nothing but crickets. (oo sun

We hereby acknowledge receigt of your Communication vubenit

United Nations
| contacted the Human Rights UN organization, only to be ignored as |
contacted them multiple times, | even filed reports with them as well. saacks oles paeaatons ed onapeenhaaeci

Please read carefully the following important information

DHS Temeeens te nites Seen Mi

| called DHS, Department of Homeland Security, explaining the cyber-attacks
and stalking. They did show up at one point but basically only listened to

Pigase note That, owing to the large number of communications

* refers to a case that appears to reveal a consistent patty

what | had to say and stated they had no idea how to search or investigate |W cca eck eee ee
any of the things | reported. Basically, a similar exit as officer Brian Marlow, \ dust lege oak lyiacenett open

* not being dealt with by a special procedure mandate

leaving stating “| think we are done here” being left again with no assistance.
| found the cyber stalking addresses and even locations, caught them, and reported them again to the
proper agencies with no assistance again.
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Government Officials

| started to contact, mayors, attorneys, senators, and other government placed figures. The irony of one
senator | asked help for was specialized in gang stalking Kamala Harris the senator of my own state
California becomes the Vice President while ignoring the situation. Here’s what | did get.

Kamala Harris
Link to website as what she was promoting to see website contents press this: Gang stalking Website

Basically, nothing happened all | received was an email stating “Happy Holidays” and nothing was ever
done about the situation. It only escalated and this was before the brake fluid was drained. If this is
handled like this in just one state, you can only imagine how the United States issues will be handled
now as Vice President.

Their response from her office government office.

From: U.S. Senator Kamala Harris <jonoveniy bars@hharis senate gov>
Oste: Wed, Dec 25, 2019. 7:40 4M

Subject Happy Holidays!

Te: “gchrphackworthGtomai com>

A message from Senge Kamala D Hares,

   

“\ KAMALA D. HARRIS

U.S. Senator for California *

Yee

   
 

 

Stavine Connected
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Other Countries

| contacted, a giant list of countries multiple times which | either received feedback that they cannot or
will not help me since | am not a citizen of their country. A few others suggested to leave the United
States or contact News investigators.

The White House
| called the White House and received nothing, telling me they couldn’t help me.

Suicide Rate

It’s a wonder why there is a high rate of suicide amongst police officers and other authorities, they
promote integrity in many of their stations, but this experience has taught me there must be none. Yet,
they seemed to be forced or could care less not tell the truth and hide information from those they are
in place to help. The ones with a weaker conscience seem to survive. It’s possible just the experience |
had with these police officers might not speak for all the actions and integrity of the others.

Some companies aren’t caring about the disaster either.
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Chapter 7: Vanguard University

Betrayal of Christians

This job was amplified in unspeakable betrayal, claiming to be Vanguard University of Southern
California. Christians but this was farthest from the truth. Christians do not hide behind lies for they are
with the other side. Pretended to sing kumbaya and pray during breaks and meetings, check out how
they acted.

Attempt to Infect

Conrad Pangan was coughing in my face while he was sick and was close enough to feel the droplets of
saliva on my face. How did | know he was sick? He announced it and you could hear the congestion in his
speech.

Fraud

| was asked to commit fraud by the manager Ryan Yamanaka this time in the reverse to steal from the
company, but I did not do as requested. | put the proper time and left for the day. Even though this
company had others monitoring me twenty-four seven and owes me a 24 hour a day paycheck, so they
have stolen roughly $184,000 from me.

Wrong Directions

They were giving wrong instructions and procedures on how the company works and how to complete
certain tasks. Such as lying about not knowing how to transfer calls. Lying about what type of code a
particular script was written in or what kind of data was being produced. They were giving instructions
to reformat a machine before backing up the data on customer computers which was wrong. | knew this
was wrong but | could tell this was all an attempt to sabotage me.

Weird Texts

Conrad Pangan sent photos of period panties on a steering wheel just before the Toyota car gets broken
into “how to prevent your car from getting broken into”. Does this seem suspicious to you since this was
sent right before the Toyota | had mentioned was broken into. Then the brake fluid on the Honda
Accord was drained which injured my son.

Betrayal

The manager Ryan Yamanaka encouraged to apply for a higher position by the manager who then fires
me after applying for the higher position stating | wasn’t behaving correctly, even though each meeting
was stated how well | was doing and that applying for the other position was great.

Use of Photography

| asked the HR representative Nina Coppersmith not to allow the school or anyone there to record or
photograph me as | did not feel comfortable with it. As | did not want it used for publicity, marketing, or
any of the sorts.
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Sexual Harassment

| had other males, Thomas Riggs, touching me in inappropriate places and laughing about it, in reality
there are homosexuals, but | am not for them touching me all over the place especially when | don’t
swing that way. This was awkward and continued to be annoying.

Laughing About Firing

The manage Ryan Yamanaka also brought me into his office to gossip and sort of try and laugh about
firing another person. Basically, letting me know he was going to fire him. So, | stood up for the person
who he was planning on firing. | suggested maybe another position or something to at least give him a
chance but nope, fired him the same day. The other manager also made a comment that he had
“nothing there”, basically stating he was stupid as he fired him. To fire someone and to be cruel about
your opinion on their abilities is a little rough, its not like they were joking with him in friendly way
because they were firing him. So basically, everyone knew he was getting fired before him, gossip was
created about it which | thought was kind of sad.
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Chapter 8: Final Thoughts

So, what’s the point of spying on me in my own residence, for what reason?

| cannot emphasize enough on the point that, many humans have tragic and awful lives, and they did
nothing wrong, it’s just the nature of the humans anymore. Thoughts where people think they are
superior to one another of pieces of information, stamps, status, money, and standards. It’s what makes
you that’s different.

| grew up being taught to respect this country, its values, the laws, and most of all the constitution. This
country was founded on that core along with the foundation of faith, which those now here want to
suppress and remove the faith and the historical culture of this life. Nobody respects them even though
generations of people were injured, died and lost a lot to make it happen for you.

What happened?

The person(s) behind this should be charged with crimes against humanity if the conscience of those in
power come to life. Those who have power can also rise into place to restructure what is corrupted.

| have no fear of dying for life after death is another place. What is the point of being afraid of death?
Are you afraid to travel to another country, or planet or would you be excited? If you are excited about
traveling, then what makes you afraid of death? This is my outlook which keeps me sane and knowing
whatever happens, there is a day where traveling from this life is imminent and not a permanent
residence for me.

Churches are involved in this corruption which is depressing as they are putting up the highest visibility,
yet they destroy themselves without revealing the truth

Destroying any potential comfort to focus on what truly is meant to be in this life (gang stalking was not
an original crime, it already existed, twisted copycats), stealing years of my life without a grain of
conscience, consideration, and lack of remorse for what they were doing to another being. Yet, knowing
the comfort still stands in faith without a wince.

While, asking for one sentence to help find the truth as to why this was going on, not one soul had the
heart, courage or strong enough conscience to tell me.

This is just a small taste of what | must present, such as further
food tampering, the local churches being involved and more. |
can write another book filled with evidence within a short
period of time.
